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            UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF FLORIDA
                    GAINESVILLE DIVISION

JEREMY HALES,
    Plaintiff,

vs.                                     Case No.: 1:24cv45/ZCB

LYNETTE MICHELLE LACEY ALEXIS PRESTON,
et al.,
       Defendants.
___________________________________/

                                 ORDER

      This matter is before the Court on Defendants’ “Motion for Order to

Provide Plaintiff’s Deposition Audio” (Doc. 39). Defendants shall file the

written transcript of Plaintiff’s deposition immediately upon receipt of it

from the stenographer. The Court hereby advises counsel and the parties

that it is highly likely that after reviewing the transcript, the Court will

schedule an in-person hearing. Counsel and the parties will be required

to attend that hearing in-person.     As the Court previously informed

counsel, it will not tolerate misconduct in this litigation. The Court will

not hesitate to sanction counsel and the parties.

      SO ORDERED. This the 5th day of December 2024.

                                   s/ Zachary C. Bolitho
                                   Zachary C. Bolitho
                                   United States Magistrate Judg
